Case 1:07-cr-10200-DPW Document 25 Filed 05/17/07 Page 1 of 14
Case 1:07-cr-10200-DPW Document 25 Filed 05/17/07 Page 2 of 14
Case 1:07-cr-10200-DPW Document 25 Filed 05/17/07 Page 3 of 14
Case 1:07-cr-10200-DPW Document 25 Filed 05/17/07 Page 4 of 14
Case 1:07-cr-10200-DPW Document 25 Filed 05/17/07 Page 5 of 14
Case 1:07-cr-10200-DPW Document 25 Filed 05/17/07 Page 6 of 14
Case 1:07-cr-10200-DPW Document 25 Filed 05/17/07 Page 7 of 14
Case 1:07-cr-10200-DPW Document 25 Filed 05/17/07 Page 8 of 14
Case 1:07-cr-10200-DPW Document 25 Filed 05/17/07 Page 9 of 14
Case 1:07-cr-10200-DPW Document 25 Filed 05/17/07 Page 10 of 14
Case 1:07-cr-10200-DPW Document 25 Filed 05/17/07 Page 11 of 14
Case 1:07-cr-10200-DPW Document 25 Filed 05/17/07 Page 12 of 14
Case 1:07-cr-10200-DPW Document 25 Filed 05/17/07 Page 13 of 14
Case 1:07-cr-10200-DPW Document 25 Filed 05/17/07 Page 14 of 14
